




Dismissed and Memorandum Opinion filed July 3, 2008








&nbsp;

Dismissed
and Memorandum Opinion filed July 3, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00812-CR

____________

&nbsp;

WILLIE DEVON KISER,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
400th District Court

Fort Bend County,
Texas

Trial Court Cause No.
44,074

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

A
written request to withdraw the notice of appeal, personally signed by
appellant, has been filed with this Court.&nbsp; See Tex. R. App. P. 42.2.&nbsp; Because this Court has not delivered
an opinion, we grant appellant=s request.

Accordingly,
we order the appeal dismissed.&nbsp; We direct the Clerk of the Court to issue the
mandate of the Court immediately.

PER CURIAM

Judgment rendered and Memorandum
Opinion filed July 3, 2008.

Panel consists of Justices Yates,
Anderson, and Brown.

Do not publish C Tex.
R. App. P. 47.2(b).





